             Case: 2:16-cr-00073-MHW Doc #: 1 Filed: 02/11/16 Page: 1 of 6 PAGEID #: 1

AO 91 (Rev. 08/09) Crimmal Complaint
                                                                                                                t±:Vt
                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                    Southern District of Ohio

                  United States of America                       )
                               v.                                )
                   Thomas A. Sweeney                             )
                      245 Grant Ave.
                                                                 )
                   Columbus, OH 43215
                                                                 )
                                                                 )
                          Defendant(s}


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               6/19/15 to 7/9/15              in the county of               Franklin          in the
  ___ ~outhern        District of            Ohio            , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. Section 2251(a) & (e)              Use of a minor to engage in sexually explicit conduct for the purpose of
                                             producing a visual depiction of such conduct, using materials that have
                                             travelled in interstate commerce, after sustaining a prior conviction under the
                                             laws of Ohio relating to sexual abuse or abusive sexual contact involving a
                                             minor.

18 U.S.C. 2252(a)(2) & (b)(1)            Receipt of visual depictions of a minor engaged in sexually explicit activity
                                         via a means or facility of interstate commerce, after sustaining a prior
                                         conviction under the laws of Ohio relating to sexual abuse or abusive sexual
                                         contact involving a minor.
         This criminal complaint is based on these facts:

See attached affidavit incorporated herein by reference.




         ~ Continued on the attached sheet.




                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state:     -~------ _Columbus, Ohio
                                                                           ~Di£:~~
                                                                             Elizabeth Preston Deavers, .&Magistrate Judge
                                                                                            Printed name and title
      Case: 2:16-cr-00073-MHW Doc #: 1 Filed: 02/11/16 Page: 2 of 6 PAGEID #: 2



                        UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT, EASTERN DIVISION OF OHIO

In the Matter of the Criminal Complaint for:

United States of America
          V.
Thomas A. Sweeney
245 Grant Ave.
Columbus, OH 43215

                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Immigration and Customs Enforcement (ICE) Homeland Security Investigations (HSI) Task
Force Officer (TFO) Jeff Zech, being first duly sworn, hereby depose and state as follows:

1. I am a Task Force Officer (TFO) with the Immigration and Customs Enforcement, Homeland
Security Investigations (HSI), assigned to the Franklin County Internet Crimes Against Children
(ICAC) Task Force in Columbus, OH. I make this affidavit in support of an application for a
criminal complaint against Thomas A. Sweeney, there being probable cause to believe that
SWEENEY has committed violations of Title 18, United States Code, Sections 2251(a) and
2252(a) and (b).

2. This affidavit is based upon your affiant's first-hand knowledge as well as conversations and
coordinated efforts with other law enforcement agents. Since this affidavit is being submitted for
the limited purpose of securing a criminal complaint and arrest warrant, your affiant did not
include each and every fact known concerning this investigation. Your affiant did not withhold
any information or evidence that would negate probable cause. Your affiant has set forth only
the facts that are believed to be necessary to establish probable cause that Thomas A. Sweeney      (~
committed the violations listed above.                                                              ~
                                                                          l 1' 1! y~ o'-" '"Ji-S·~~
3. In June of2015, your affiant received information indicating a juvenile (herein referred to as
Jane Doe) was sexually solicited by an adult male named Thomas A. SWEENEY. Your affiant
learned that SWEENEY was convicted in the Franklin County Court of Common Pleas, of two
counts of Rape involving a child under the age of 13 in 2003, in case number 03CR6784.
SWEENEY was sentenced to 10 years of incarceration as a result of this conviction, and was
thereafter under supervised release by the Ohio Adult Parole Authority. Additionally,
SWEENEY was convicted of Failure to Notify Change of Address as a Sexual Offender in 2014,
and was on probation in 2015 through the Franklin County Common Pleas Court for this
conviction.

4. Upon receiving the information regarding the allegations of SWEENEY's solicitation of Jane
Doe, your affiant conducted an investigation during which Jane Doe and her father were
interviewed and numerous digital media were analyzed. This investigation has revealed the
following facts.

5. According to preliminary information obtained from Jane Doe, she and SWEENEY
exchanged text messages in which SWEENEY requested nude pictures and sexual activity from
       Case: 2:16-cr-00073-MHW Doc #: 1 Filed: 02/11/16 Page: 3 of 6 PAGEID #: 3



Jane Doe between the dates of June 19, 2015, and June 20, 2015. Prior to this text message
conversation, a personal relationship existed between Jane Doe and SWEENEY, with
SWEENEY having knowledge of Jane Doe's age. 1

6. Subsequent to interviewing Jane Doe and her father, Jane Doe's blue Apple I Phone 5 C was
turned over to your affiant for further analysis. Your affiant conducted a forensic examination of
the i-phone and observed multiple text messages that had been deleted. Due to these messages
being deleted, only the message content, date and time, and sent or read data was recovered. No
phone number could be associated with any of the text messages.

7. Your affiant subsequently determined that Jane Doe's phone number was assigned to AT&T,
and sent a subpoena to AT&T for detailed records for phone number assigned to Jane Doe's
phone. The information returned by AT&T included a listing of incoming and outgoing text
messages. Although the content was not included in this list, the phone number sending each
message and the dates and times that the messages were sent and received was included. Your
affiant was able to compare the dates and times of incoming and outgoing text messages listed
the AT&T return to the deleted text messages recovered from Jane Doe's i-phone. This
comparison revealed the numerous text conversations between Jane Doe and phone number
phone number 614-301-3372, which was listed in the contacts section of Jane Doe's phone as
"Tom" and later determined to be assigned to SWEENEY. The following is a sample of those
conversations:

June 18, 2015:
       Jane Doe at 12:07pm: "Hi Thomas Andrew Sweeney"
       SWEENEY at 12:08pm: "Yes [][Jane Doe]"

June 19, 2015:
       SWEENEY (2:25pm): "I bet you still have clothes on and can't prove otherwise"
       Jane Doe (2:26pm): "Did u get the pic i paused it to shoe u"
       SWEENEY (2:26pm): "I bet your still dressed"
       SWEENEY (2:26pm): "Yeah don't mean nothing"
       Jane Doe (2:27pm): "U think im still dressed"
       SWEENEY (2:28pm): "Show me full body I don't think you got the nerve"
       SWEENEY (2:29pm): "No bra"
       Jane Doe (2:29pm): "Really Okay deal"
       SWEENEY (2:29pm): "Send it"
       Jane Doe (2:32pm): "Okay deal"
       SWEENEY (2:32pm): "Send it"
       Jane Doe (2:33pm): "Tht is my vagina"
       SWEENEY (2:33pm): "Could I have one with legs open"
       SWEENEY (2:34pm): "You shave it"
       Jane Doe (2:35pm): "Yes i shave be i hate a hairy vagina"
       Jane Doe (2:40pm): "A bbc a big black cock"
       SWEENEY (2:41pm): "Will mine do"

1 Your affiant has knowledge of the particular nature of the relationship between Jane Doe and SWEENEY.
However, public disclosure of the nature of that relationship could result in the identification of the Jane Doe, which
would create additional trauma to her. For that reason, your affiant has not indicated the specific nature of the
relationship and has omitted certain words from quoted material that would indicate the nature of the relationship.
      Case: 2:16-cr-00073-MHW Doc #: 1 Filed: 02/11/16 Page: 4 of 6 PAGEID #: 4



       SWEENEY (2:41pm): "I want a pic of your pussy from between your legs"

       Jane Doe (2:52pm): "Is it really u [][SWEENEY]"
       SWEENEY (2:52pm): "Yes it is why"
       SWEENEY (2:52pm): "How do I prove it"
       Jane Doe (2:53pm): "Idk it just feels odd to b sending nudes to [][SWEENEY] and send
me a pic of ur face"
       SWEENEY (2:53pm): "Okay"
       SWEENEY (2:54pm): "Its not recent"


       SWEENEY (3:01pm): "Well send me pies of your pussy from between your legs and
then maybe we can have phone sex"


8. Due to SWEENEY being on supervised release and probation, your affiant contacted
SWEENEY's parole officer to attempt to interview SWEENEY. On July 9, 2015, your affiant
went to the Adult Parole Authority Office to try to interview SWEENEY at the conclusion of
SWEENEY's regularly scheduled parole visit with Parole Officer Pugh. SWEENEY refused to
be interviewed by your affiant.

9. During SWEENEY's interview with Officer Pugh, SWEENEY stated that he had two black
cellular phones with him, but that he left his HTC Smart Phone at the Faith Mission were he was
currently residing. At the conclusion ofthe Officer Pugh's interview of SWEENEY, Pugh and
other parole officers determined that it was necessary to go to the Faith Mission and inspect
SWEENEY's HTC Smart Phone for potential violations of SWEENEY's conditions of parole.
The Adult Parole Authority requested that your affiant inspect SWEENEY's HTC Smart Phone
for violations of SWEENEY's parole conditions if it was located at the Faith Mission. Your
affiant therefore accompanied Parole Officer Kashchalk to the Faith Mission to retrieve
SWEENEY's HTC Smart Phone to inspect for violations of SWEENEY'S parole conditions.
The HTC Smart Phone was located at the Faith Mission on the bed assigned to SWEENEY.
Officer Kashchalk took possession of SWEENEY's HTC Smart Phone then relinquished it to
your affiant. Your affiant took possession of the HTC Smart Phone to examine it for violations
of SWEENEY'S conditions of parole for Officer Pugh. Upon examination ofthe HTC Smart
Phone, it was determined that SWEENEY did have access to the internet on the phone, which
was a violation of SWEENEY's conditions of parole. While conducting the exam to look for
violations of SWEENEY's conditions of parole, your affiant observed several images of Jane
Doe along with several images of a pornographic nature. Your affiant informed Officer Pugh of
the violations found on the phone and maintained custody of the phone pending a search warrant
to conduct a further examination.

10. On July 20, 2015, Jane Doe was interviewed by the Child Assessment Center (CAC) at
Nationwide Children's Hospital in Columbus, OH. During the interview, Jane Doe stated that in
June of2015, she had been in contact with an individual named "Chelsea," who is SWEENEY's
girlfriend from Texas. While Jane Doe was communicating with Chelsea, SWEENEY contacted
Jane Doe through text message and told her to stop speaking to Chelsea. Jane Doe stated that
approximately 20 minutes later, SWEENEY sent her a text message stating "Hey baby girl."
According to Jane Doe, the conversation became sexual in nature, with SWEENEY asking Jane
      Case: 2:16-cr-00073-MHW Doc #: 1 Filed: 02/11/16 Page: 5 of 6 PAGEID #: 5



Doe to send him a picture of her "pussy." Prior to this, SWEENEY sent a Jane Doe picture of
his penis. JANE DOE stated that SWEENEY wanted to meet Jane Doe in a park near her house
around 10 am the following day to "69" (simultaneous oral sex) and to "make out." Jane Doe
stated that SWEENEY stated that he would "commit adultery" with Jane Doe.


11. On July 30,2015, your affiant conducted a forensic examination of SWEENEY'S HTC
Smart Phone, pursuant to a search warrant. During this examination, it was confirmed that the
phone number assigned to the phone was 614-301-3372. The examination also revealed several
pictures of SWEENEY fully nude standing in a restroom while holding the HTC Smart Phone, as
well as several pictures of nude female genitalia. One of these pictures of nude female genitalia
had a file creation date of June 19, 2015 at 3:43PM, which is the approximate date and time
SWEENEY and Jane Doe were engaged in the text message conversation during which
SWEENEY requested photographs of Jane Doe's nude genitalia. Upon further analysis of the
pictures of nude female genitalia, your affiant observed in the background a blanket that was
green in color with pink flowers and butterflies. A picture of Jane Doe's face with the same
blanket in the background was also located. Your affiant contacted a family member of Jane Doe
who was able to positively identify the blanket. The family member turned the blanket over to
your affiant who personally confirmed that the blanket turned over by Jane Doe's family member
was the same blanket in the background of pictures of nude female genitalia.

12. Multiple text message conversations were also found during the examination of
SWEENEY'S HTC Smart Phone. The first text message contained on SWEENEY's phone was
dated June 20, 2015 at 2:59PM; no text messages prior to this date were located. The first text
message recovered was sent from SWEENEY to phone number 512-234-2433 with a contact
name of"Chelsea." Chelsea has been determined to be SWEENEY's girlfriend who lives in
Texas. Several of the text message conversations between SWEENEY and Chelsea indicated
that Chelsea had learned of SWEENEY's sexual interest in Jane Doe.

Beginning June 20, 2015 at 2:59 PM-

Chelsea: "I didn't say shit I just told her she is fucked up for it and u could go bk to jail for it so
yes that is stupid! And idk I'm at wrk I'm pissed"
Chelsea: "U cheat and u swore u nvr would and it was with[] [Jane Doe]"
SWEENEY:"! didn't say it was okay Chelsea what I did was stupid"
Chelsea: "Or why u fucked her by text"
SWEENEY: "No answer for that either. That was really stupid of me"
From Chelsea: "U fucked [] [Jane Doe] when u told me u didn't ever see her like that an u wu
nvr hurt me like that and u wernt like that and how u were trying to change ... "
SWEENEY: "I am really sorry for my actions toward you and her last night"
SWEENEY: "What do you want me to say I apologize for my actions and what I did was
wrong"


13. On October 9, 2015, S.A. Cameron Bryant with Homeland Security Investigations (HSI)
conducted a follow up interview with Jane Doe. During the interview, S.A. Bryant presented five
pictures that were extracted from SWEENEY'S HTC Smart Phone for Jane Doe to identify. One
of the five pictures presented to Jane Doe was a picture of Jane Doe's face with the green blanket
      Case: 2:16-cr-00073-MHW Doc #: 1 Filed: 02/11/16 Page: 6 of 6 PAGEID #: 6



with pink flowers and butterflies in the back ground. The other four pictures presented were
images of nude female genitalia with the green blanket with pink flowers and butterflies in the
background. Jane Doe positively identified all 5 pictures as pictures of herself. Jane Doe further
stated that she sent SWEENEY approximately five pornographic pictures of herself. During the
interview, Jane Doe also confirmed the nature of some of the text messages between her and
SWEENEY that she had previously described and further revealed that SWEENEY instructed
her to delete all of the text message conversations between them.


14. Subsequent to SWEENEY's Parole visit in July of2015, SWEENEY's whereabouts were
unknown. On August 3, 2015 a confidential source (CS) made contact with the Franklin County
Adult Probation Office concerning the whereabouts of SWEENEY. The CS stated that
SWEENEY had been communicating with them through Facebook. The CS stated that
SWEENEY was currently living in a homeless camp in Ontario, California. The CS stated that
SWEENEY was utilizing free wireless internet from a library in Ontario, California to
communicate with them and others using a mobile phone. Information received from the CS was
transferred to the regional HSI office in California to attempt to locate SWEENEY.

15. On August 4, 2015 HSI Agents in Ontario, California were able to locate SWEENEY
outside a public library and took him into custody on the outstanding Ohio Adult Parole
Authority arrest warrant. SWEENEY was transferred to Ohio from California and was sentenced
to return to prison for violating conditions of Parole. Currently SWEENEY is incarcerated at
Noble Correctional Institution for the violations of his Parole and Probation conditions.

16. Through investigative research, your affiant has confirmed that SWEENEY's HTC Smart
Phone and Jane Doe's Apple I Phone 5 C were manufactured in China.

17. Based upon the foregoing information, your affiant submits that there is probable cause to
believe that Thomas A. SWEENEY has committed offenses in violation of 18 U.S.C. § 2251(a),
production of child pornography, and 2252(a)(2), receipt of child ponography. Therefore, your
affiant respectfully requests this court issue a criminal complai   d arrest warrant.


                                             JeffZech,
                                             Task For
                                             Homeland Security Investigations

~to and subscribed before me this JJ!day ofFebruary, 2016.
~~
United States Magistrate Judge
Southern District of Ohio
